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                     EXHIBIT A
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                                                     ELECTRONICALLY FILED
                                                        2022 Apr 26 PM 3:58
                                          CLERK OF THE NEOSHO-CHANUTE DISTRICT COURT
                                                CASE NUMBER: NOC-2022-CV-000020
                                                          PII COMPLIANT
                       IN THE THIRTY-FIRST JUDICIAL DISTRICT
                    DISTRICT COURT OF NEOSHO COUNTY, KANSAS
                                CIVIL DEPARTMENT

DOROTHY BLOOD, TYLER BLOOD,
and PEGGY WITTUM, as individuals
and on behalf of all others similarly       CASE NO.:
situated,
                                            CLASS ACTION COMPLAINT
               Plaintiffs,

v.                                          DEMAND FOR JURY TRIAL

LABETTE COUNTY MEDICAL
CENTER, d/b/a LABETTE HEALTH,
           Registered Agent:
Spenserv, Inc.
6201 College Blvd., Ste. 500
Overland Park, Kansas 66211

               Defendant.




       Dorothy Blood, Tyler Blood, and Peggy Wittum (“Plaintiffs”), individually and on behalf

of all others similarly situated, bring this action against Defendant Labette County Medical

Center, d/b/a Labette Health (“Labette” or “Defendant”), a Kansas not-for-profit general

hospital organized pursuant to Kan. Stat. Ann. § 19-4601, et seq. Plaintiffs seek to obtain damages,

restitution, and injunctive relief for the Class, as defined below, from Defendant. Plaintiffs make

the following allegations upon information and belief, except as to their own actions, the

investigation of his counsel, and the facts that are a matter of public record:

                                   NATURE OF THE ACTION

       1.      This class action arises out of the recent targeted data breach of the computer

network for Labette Health, a Kansas not-for-profit general hospital. Through this Data Breach,

an unauthorized third-party was able to access Defendant’s insufficiently secured computer


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network and exfiltrate a wealth of unencrypted data, including the removal of the highly sensitive

personal information and medical records of approximately 85,635 current and former patients

and employees (the “Data Breach”).

       2.        As a result of the Data Breach, Plaintiffs and similarly situated individuals

suffered ascertainable losses in the form of loss of the value of their private and confidential

information, loss of the benefit of their contractual bargain, out-of-pocket expenses, and the value

of their time reasonably incurred to remedy or mitigate the effects of the attack.

       3.        Plaintiffs bring this suit on their own behalf and for similarly situated individuals

whose sensitive personal information was entrusted to Defendant’s officials and agents, then

compromised, unlawfully accessed, and stolen during the Data Breach (collectively “Class

Members”). Information compromised in the Data Breach includes individuals’ full name, Social

Security number, and other personally identifiable information (“PII”), as well as information

related to medical treatment and diagnosis information, treatment costs, dates of service,

prescription information, Medicare or Medicaid number, and/or health insurance information,

considered protected health information as defined by the HIPAA (“PHI”), all of which

Defendant collected and retained on its network (collectively the “Private Information”).

       4.        In addition, some of the Private Information stolen belonged to minor children

who were patients of Labette Health or the children of employees. These Class Members are

especially vulnerable when their Private Information is sold on the Dark Web, as explained

further below.

       5.        Plaintiffs bring this class action lawsuit on behalf of themselves and those similarly

situated to address: 1) Defendant’s inadequate safeguarding of Class Members’ Private

Information, 2) for failing to provide timely and adequate notice to Plaintiffs and other Class

Members that their Private Information was subject of this Data Breach, and 3) for failing to notify

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Plaintiffs and Class Members precisely what specific Private Information was accessed and

exfiltrated.

        6.       Defendant maintained Plaintiffs’ and Class Members’ Private Information in a

reckless manner. In particular, the Private Information was maintained on Defendant’s computer

network in a condition that left it vulnerable to cyberattacks and the exfiltration of Plaintiffs’ and

Class Members’ PII and PHI, as actually happened in this Data Breach.

        7.       Upon information and belief, this Data Breach and the potential for improper

disclosure of Plaintiffs’ and Class Members’ Private Information was a known and foreseeable

risk to Defendant, and thus Defendant was on notice that if it failed to take steps necessary to

secure its patients’ and employees’ Private Information (as it did), the PII and PHI would be a

dangerous condition and at risk of being stolen.

        8.       Defendant and its employees had a clearly defined, mandatory duty to properly

monitor the computer network and systems that housed patients’ Private Information, to put into

place systems to promptly discover any unauthorized intrusion to reduce any damage that could

be suffered by the Class Members, yet it failed to meet this duty.

        9.       Because of the Data Breach, Plaintiffs’ and Class Members’ PII and PHI was

accessed and exfiltrated by cybercriminals, and upon information and belief, Defendant’s

systems were not fully operable during its investigation of the Data Breach, resulting in a

disruption of its access to Plaintiffs’ and Class Members’ medical records, risking impediments

to certain patients’ healthcare.

        10.      Plaintiffs’ and Class Members’ identities are now at risk because of Defendant’s

negligent conduct since the Private Information that Defendant collected and maintained is now

in the hands of data thieves and potentially being sold on the dark web.

        11.      Armed with the Private Information accessed in the Data Breach, data thieves can

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commit a variety of crimes including, e.g., opening new financial accounts in Class Members’

names, taking out loans in Class Members’ names, using Class Members’ names to obtain medical

services, using Class Members’ health information to target other phishing and hacking

intrusions based on their individual health needs, using Class Members’ information to obtain

government benefits, filing fraudulent tax returns using Class Members’ information, obtaining

driver’s licenses in Class Members’ names but with another person’s photograph, and giving false

information to police during an arrest.

        12.       As a further result of the Data Breach, Plaintiffs and Class Members have been

exposed to a heightened and imminent risk of fraud and identity theft. Plaintiffs and Class

Members must now and in the future closely monitor their financial accounts to guard against

identity theft.

        13.       Plaintiffs and Class Members have and may incur out of pocket costs in the future

when they pay for, among other things, purchasing credit monitoring services, credit freezes,

credit reports, or other protective measures to deter and detect identity theft.

        14.       As a direct and proximate result of the Data Breach and subsequent exfiltration of

PII and PHI data, Plaintiffs and Class Members have suffered and will continue to suffer damages

and economic losses in the form of the loss of time needed to take appropriate measures to avoid

unauthorized and fraudulent charges, putting alerts on their credit files, and dealing with spam

messages and e-mails received as a result of the Data Breach.

        15.       Plaintiffs and Class Members have likewise suffered and will continue to suffer an

invasion of their property interest in their own PII and PHI such that they are entitled to damages

for unauthorized access to, theft of, and misuse of their PII and PHI from Defendant.

        16.       Plaintiffs and Class Members will suffer from future damages associated with the

unauthorized use and misuse of their PII and PHI, as thieves are likely to use the Private

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Information to obtain money and credit in Plaintiffs’ and Class Members’ names for years.

       17.     Through this Complaint, Plaintiffs seek to remedy these harms on behalf of

themselves and all similarly situated individuals whose Private Information was accessed and/or

removed from the network during the Data Breach.

       18.     Plaintiffs seek remedies including, but not limited to, compensatory damages,

reimbursement of out-of-pocket costs, and injunctive relief including improvements to

Defendant’s data security systems, future annual audits, and adequate credit monitoring services

funded by Defendant.

       19.     Accordingly, Plaintiffs bring this action against Defendant seeking redress for its

unlawful conduct asserting claims for breach of implied contract, unjust enrichment, breach of

the Kansas Protection of Consumer Information Act, Kan. Stat. Ann. § 50-7a02 (“PCI”), and

breach of Kansas Consumer Protection Act, Kan. Stat. Ann. § 50-623 et seq. (“Kansas CPA”).

                                           PARTIES

       20.     Plaintiff Dorothy Blood is, and at all times mentioned herein was, an individual

citizen of the State of Kansas residing in Cherryvale (Montgomery County), Kansas. Plaintiff was

patient of Defendant. Plaintiff received notice from Labette that the Data Breach had occurred

following an attack on Labette’s computer systems. A copy of the notice is attached hereto as

Exhibit A.

       21.     Plaintiff Tyler Blood is, and at all times mentioned herein was, an individual

citizen of the State of Kansas residing in Cherryvale (Montgomery County), Kansas. Plaintiff was

patient of Defendant. Plaintiff received notice from Labette that the Data Breach had occurred

following an attack on Labette’s computer systems. A copy of the notice is attached hereto as

Exhibit B.

       22.     Plaintiff Peggy Wittum is, and at all times mentioned herein was, an individual

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citizen of the State of Kansas residing in Independence (Montgomery County), Kansas. Plaintiff

is a former patient of Defendant. Plaintiff received notice from Labette that the Data Breach had

occurred following an attack on Labette’s computer systems. A copy of the notice is attached

hereto as Exhibit C.

       23.     Defendant Labette County Medical Center d/b/a Labette Health., is a Kansas

county hospital organized pursuant to Kan. Stat. Ann. § 19-4601, et seq., headquartered at 1902 S.

U.S. Highway 59, Parsons, Kansas 67357. Labette can be served through its registered agent,

Spenserv, Inc., at 6201 College Blvd., Suite 500, Overland Park, Kansas 66211.

                                 JURISDICTION AND VENUE

       24.     Jurisdiction is proper in this Court because Defendant Labette is a Kansas county

hospital that maintains places of business in various Kansas counties, including Neosho County,

Kansas.

       25.     This Court has subject matter jurisdiction over this matter pursuant to Kan. Stat.

Ann. Const. Art. 3 § 6.

       26.     This Court has general personal jurisdiction over Labette under Kan. Stat. Ann.

20-301 because it is incorporated under the laws of Kansas and has a place of business in Chanute

(Neosho County), Kansas. In addition, (i) Defendant regularly does business or solicits business,

engages in other persistent courses of conduct and/or derives substantial revenue from services

provided to individuals in Neosho County and in the State of Kansas and (ii) Defendant has

purposefully established substantial, systematic and continuous contacts with Neosho County

and the State of Kansas and expects or should reasonably expect to be in court here.

       27.     Defendant has (more than) sufficient minimum contacts with Neosho County such

that this Court’s exercise of jurisdiction over Defendant will not offend traditional notions of fair

play and substantial justice.

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          28.     Venue is proper in Neosho County pursuant to Kan. Stat. Ann. § 60-604 because

Defendant conducts its usual and customary business in this County.

                                      FACTUAL ALLEGATIONS

                                          Defendant’s Business
          29.     Defendant Labette Health provides comprehensive healthcare services to a six-

county area of Southeastern Kansas since 1961, including a hospital located in Parsons, the

Labette Health Independence Healthcare Center in Montgomery County, the Chanute Clinic and

Express Care in Neosho County, additional Express Care locations, and multiple associated

Health Clinics.1

          30.     According to its website, “Labette Health (with the exception of Emergency

Medical Services-EMS) operates without any tax support or direct financial subsidy from Labette

County—totally funded by reimbursement from patients, insurance companies and donations.”2

          31.     As it conducts its business, at each of its facilities, Labette collects highly sensitive

PII and PHI from its patients and employees. Indeed, Labette requires that patients disclose their

PII and PHI in order to receive Labette’s services.

          32.     In the ordinary course of receiving medical care from Defendant, patients are

required to provide (and Plaintiffs did in fact provide) Defendant with sensitive, personal and

private information such as:

          •       Name, address, phone number and email address;

          •       Date of birth;

          •       Demographic information;

          •       Social Security number;



1   https://www.labettehealth.com/about-us/ (last accessed April 12, 2022).
2   https://www.labettehealth.com/ways-to-give/foundation-about-us/ (last accessed April 12, 2022).

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       •       Information relating to individual medical history;

       •       Insurance information and coverage;

       •       Information concerning an individual’s doctor, nurse or other medical providers;

       •       Photo identification;

       •       Employer information, and;

       •       Other information that may be deemed necessary to provide care.

       33.     Labette’s current and former employees were expected to provide similar

information upon their employment with Labette.

       34.     Although Labette collects patients’ and employees’ sensitive information, it claims

it is “committed to maintaining the privacy and security of the information that it maintains” and

that the “security of the personal information in its possession is Labette Health’s top priority.”3

       35.     Additionally, Labette may receive private and personal information from other

individuals and/or organizations that are part of a patient’s “circle of care,” such as referring

physicians, patients’ other doctors, patient’s health plan(s), close friends, and/or family

members.

       36.     The patient information Labette collects and places on its computer network

includes that of both adults and minors.

       37.     Even though it claims that “the “security of the personal information in its

possession is Labette Health’s top priority,”4 Labette does not follow industry standard practices

in securing PII and PHI. On information and belief, Labette inadequately trains its employees on

cybersecurity policies, fails to enforce those policies, or maintains unreasonable or inadequate



3
  https://www.labettehealth.com/about-us/labette-health-security-breach/ (last accessed April 12,
2022).
4 Id.


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security practices and systems.

                                          The Data Breach

       38.      According to its Notice Letters sent to Plaintiffs and Class Members, on October

14, 2021, Defendant Labette “identified unauthorized access to [its] network.”5 By February 11,

2022, Labette knew cyberthieves had unauthorized access to and “removed” files containing PII

and PHI from Labette’s network.6

       39.      Labette began an investigation with outside professionals, who determined that

cybercriminals “potentially accessed and acquired information from portions of its network

between October 15, 2021 and October 24, 2021.” By February 11, 2022, Labette had determined

that the accessed or acquired files “contained identifiable personal and/or protected health

information of employees and certain patients who received services from Labette Health.”7

       40.      Upon information and belief, the cyberattack targeted Defendant due to

Defendant’s status as a healthcare entity that collects, creates, and maintains both PII and PHI.

This cyberattack was expressly designed to gain access to private and confidential data, including

(among other things) the PII and PHI of patients and employees like Plaintiffs and Class

Members.

       41.      Labette stated that upon discovering the Data Breach, it “immediately took steps

to secure its network and mitigate against any additional harm.”8

       42.      The investigation determined that the files impacted included Plaintiffs and Class

Members’ full name and “one or more of the following: Social Security number, medical




5 See, e.g., Notice Letter, attached as Exhibit A.
6 https://www.labettehealth.com/about-us/labette-health-security-breach/ (last accessed April 12,
2022).
7 Id.
8 Id.


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treatment and diagnosis information, treatment costs, dates of service, prescription information,

Medicare or Medicaid number, and/or health insurance information.” 9

        43.         Labette admits that it was only after the breach that it implemented new security

measures. Specifically, it “strengthened its network and implemented additional security

improvements recommended by third-party cyber security experts. These include resetting

account passwords and strengthening its password security policies, implementing multi-factor

authentication for network access, upgrading its endpoint detection software, and coordinating

additional employee training related to network security and threat detection.”10 Each of these

measures could have—and should have—been in place prior to the Data Breach, and likely could

have prevented the Data Breach from occurring.

        44.         Despite learning of the Data Breach that occurred between October 15 and

October 24, 2021, Labette did not file a breach notification with the U.S. Department of Health

and Human Services (“HHS”) Office for Civil Rights, a governmental agency, until March 11,

2022, almost 5 months after the Data Breach. At that time, it notified HHS that the Private

Information of 85,635 individuals had been affected in the Data Breach.11 As required by section

13402(e)(4) of the HITECH Act, the Secretary must post a list of breaches of unsecured protected

health information affecting 500 or more individuals. Labette’s breach was included in the

Secretary’s list.

        45.      The Notice Letters that Labette sent to its Data Breach victims, including Plaintiffs

and Class Members, are dated March 11, 2022, nearly 5 months after Labette knew of the Data

Breach. See Plaintiffs’ Notice Letters, attached as Exhibits A and B.




9 Id.
10 Id.
11 https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf (last accessed April 12, 2022).


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          46.      Despite its lag in notification of the Data Breach that affected patients and

employees, Labette offered victims of the attack just 12 months of identity theft services “through

IDX, a data breach and recovery services expert, at no charge to Labette patients affected. These

services include 12 months of credit and CyberScan monitoring, a $1,000,000 insurance

reimbursement policy, and fully managed identity theft recovery services.”12

          47.      As a consequence of the Data Breach on Defendant’s computer systems, highly

sensitive and private information belonging to Plaintiffs and Class Members that Defendant had

a clearly defined, mandatory duty to protect was accessed and removed from Defendant’s

network.

          48.      Based on the Notice of Data Breach letters they received, which informed Plaintiffs

that their Private Information was “removed” from Defendant’s network and computer systems,

Plaintiffs reasonably believe their Private Information was stolen from Defendant’s network in

the Data Breach and was or will be sold on the Dark Web.

          49.      Further, the removal of the Private Information from Defendant’s system –

information that included full names, dates of birth, and Social Security numbers (which are the

keys to identity theft and fraud) demonstrates that this cyberattack was targeted.

          50.      Cyberattacks against hospitals and healthcare organizations such as Defendant are

targeted. According to the 2019 Health Information Management Systems Society, Inc.

(“HIMMS”) Cybersecurity Survey, “[a] pattern of cybersecurity threats and experiences is

discernable across US healthcare organizations. Significant security incidents are a near-universal

experience in US healthcare organizations with many of the incidents initiated by bad actors,

leveraging e-mail as a means to compromise the integrity of their targets.”13 “Hospitals have


12
     See, e.g., Exhibit A.
13
     https://www.himss.org/himss-cybersecurity-survey (last accessed April 5, 2022).
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emerged as a primary target because they sit on a gold mine of sensitive personally identifiable

information (PII) for thousands of patients at any given time. From social security and insurance

policies to next of kin and credit cards, no other organization, including credit bureaus, have so

much monetizable information stored in their data centers.”14

       51.      Defendant had clearly defined and mandatory obligations created by HIPAA,

contract, industry standards, common law, and representations made to Plaintiffs and Class

Members, to keep their Private Information confidential and to protect it from unauthorized

access and disclosure.

       52.      In Labette’s Notice of Privacy Practices (“Privacy Notice”), it promises to “obtain

[patients’] express written authorization before using or disclosing [their] information for any

other purpose” than those purposes it lists, e.g., to provide medical treatment, to seek payment,

with business associates, etc. The Privacy Notice also states that Labette “require[s its] business

associates to appropriately safeguard your information,” despite its failure to do the same.15

       53.      Plaintiffs and Class Members provided their Private Information to Defendant

with the reasonable expectation and mutual understanding that Defendant would comply with

its obligations to keep such information confidential and secure from unauthorized access.

       54.      Defendant’s data security obligations were particularly important given the

substantial increase in data breaches, and particularly data breaches in the healthcare industry,

preceding the date of the breach.

       55.      Data breaches, including those perpetrated against the healthcare sector of the

economy, have become widespread.



14 Eyal Benishti, How to Safeguard Hospital Data from Email Spoofing Attacks, Chief Healthcare
Executive (April 4, 2019) at: https://www.chiefhealthcareexecutive.com/view/how-to-safeguard-
hospital-data-from-email-spoofing-attacks (last accessed April 26, 2022).
15 https://www.labettehealth.com/notice-of-privacy-practices/ (last accessed April 26, 2022).


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        56.      In 2019, a record 1,473 data breaches occurred, resulting in approximately

164,683,455 sensitive records being exposed, a 17% increase from 2018.16

        57.      Of the 1,473 recorded data breaches, 525 of them, or 35.64%, were in the medical

or healthcare industry.17

        58.      The 525 reported breaches reported in 2019 exposed nearly 40 million sensitive

records (39,378,157), compared to only 369 breaches that exposed just over 10 million sensitive

records (10,632,600) in 2018.18

        59.      Indeed, cyber- attacks, such as the one experienced by Defendant, have become so

notorious that the Federal Bureau of Investigation (“FBI”) and U.S. Secret Service have issued a

warning to potential targets so they are aware of, and prepared for, a potential attack.

        60.      In fact, according to the cybersecurity firm Mimecast, 90% of healthcare

organizations experienced cyberattacks in the past year.19

        61.      Therefore, the increase in such attacks, and attendant risk of future attacks, was

widely known to the public and to anyone in Defendant’s industry, including Labette.

                      Defendant also Fails to Protect Children’s Private Information

        62.      According to a 2021 study by Javelin Research and Strategy, child identity fraud

affects one out of every 500 children annually, costs U.S. families nearly $1 billion annually, and

takes parents and guardians far longer to resolve than adult identity fraud.20




16 https://www.idtheftcenter.org/wp-content/uploads/2020/01/01.28.2020_ITRC_2019-End-of-Year-
Data-Breach-Report_FINAL_Highres-Appendix.pdf (last accessed April 26, 2022).
17 Id.
18 Id. at p. 15.
19 See Maria Henriquez, Iowa City Hospital Suffers Phishing Attack, Security Magazine (Nov. 23, 2020),

https://www.securitymagazine.com/articles/93988-iowa-city-hospital-suffers-phishing-attack (last
accessed April 26, 2022).
20 https://www.javelinstrategy.com/research/child-identity-fraud-web-deception-and-loss (last

accessed April 15, 2022).

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        63.      According to this research, “One of the most daunting challenges, as it relates to

detecting the theft or compromise of a child’s identity, is that fraud typically takes place years

after a child’s personally identifiable information (PII) is initially breached.” Because children are

not filing taxes, applying for loans, and opening bank accounts, misuse of their Private

Information is less often flagged early, and therefore can abused for much longer before

detected.21

        64.      A child’s “blank slate” provides cyber criminals the opportunity to create a

“synthetic” identity using both real and fictitious information to seek loans since a child’s Social

Security number completely lacks a credit history.22

        65.      According to the FTC, cybercriminals armed with children’s Social Security

numbers, name, address, and date of birth are able to: apply for government benefits, like health

care coverage or nutrition assistance; open a bank or credit card account; apply for a loan; sign

up for a utility service, like water or electricity; or rent a place to live.23

        66.      Although checking a child’s credit report is a step that concerned parents should

take, it is more difficult that checking an adult’s credit report. A child’s credit check may require

requesting that each of the three reporting agencies perform a manual search and may require

providing additional documentation, including but not limited to: the parent or legal guardian’s

driver’s license or government-issued identification card; proof of the parent or legal guardian’s

address, (a utility bill, or a credit card or insurance statement); the child’s birth certificate; and the

child’s Social Security card.24 Each of these requirements can present hurdles—and are time-



21 Id.
22 What is Child Identity Theft?, Identity Theft Resource Center,
https://www.idtheftcenter.org/help_center/what-you-need-to-know-about-child-identity-theft/ (last
accessed April 26, 2022).
23 https://consumer.ftc.gov/articles/how-protect-your-child-identity-theft (last accessed April 26, 2022).
24 Id.


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consuming—for parents who receive notice of a data breach affecting children.

        67.      Minor child patients are among the Class Members who received notice letters

informing their parents that their children’s Social Security numbers were stolen in Labette’s Data

Breach. Labette’s failure to keep their Private Information secure is especially egregious and likely

to result in decades of misuse.

                               Defendant Fails to Comply with FTC Guidelines

        68.      The Federal Trade Commission (“FTC”) has promulgated numerous guides for

businesses which highlight the importance of implementing reasonable data security practices.

According to the FTC, the need for data security should be factored into all business decision-

making.

        69.      In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established cyber-security guidelines for businesses. The guidelines note that

businesses should protect the personal information that they keep; properly dispose of personal

information that is no longer needed; encrypt information stored on computer networks;

understand their network’s vulnerabilities; and implement policies to correct any security

problems.25 The guidelines also recommend that businesses use an intrusion detection system to

expose a breach as soon as it occurs; monitor all incoming traffic for activity indicating someone

is attempting to hack the system; watch for large amounts of data being transmitted from the

system; and have a response plan ready in the event of a breach.26

        70.      The FTC further recommends that companies not maintain PII longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex


25 Protecting Personal Information: A Guide for Business, Federal Trade Commission (2016). Available at
https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-
information.pdf (last accessed April 26, 2022).
26 Id.


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passwords to be used on networks; use industry-tested methods for security; monitor for

suspicious activity on the network; and verify that third-party service providers have

implemented reasonable security measures.

           71.      The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect patient data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an

unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

           72.      These FTC enforcement actions include actions against healthcare providers like

Defendant. See, e.g., In the Matter of LabMD, Inc., A Corp, 2016-2 Trade Cas. (CCH) ¶ 79708, 2016

WL 4128215, at *32 (MSNET July 28, 2016) (“[T]he Commission concludes that LabMD’s data

security practices were unreasonable and constitute an unfair act or practice in violation of

Section 5 of the FTC Act.”)

           73.      Defendant failed to properly implement basic data security practices.

           74.      Defendant’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to patient PII and PHI constitutes an unfair act or practice prohibited

by Section 5 of the FTC Act, 15 U.S.C. § 45.

           75.      Defendant was at all times fully aware of its obligation to protect the PII and PHI

of patients as outlined in its Privacy Notice and even expected its business associates to be aware

of their obligation to protect Labette’s patients’ information.27 Defendant was aware of the

significant repercussions that would result from its failure to protect the PHI and PII of its


27   https://www.labettehealth.com/notice-of-privacy-practices/ (last accessed April 26, 2022).


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patients, including Plaintiffs and Class members.

                            Defendant Fails to Comply with Industry Standards

       76.        As shown above, experts studying cyber security routinely identify healthcare

providers as being particularly vulnerable to cyberattacks because of the value of the PII and PHI

which they collect and maintain.

       77.        Several best practices have been identified that a minimum should be

implemented by healthcare providers like Defendant, including but not limited to: educating all

employees; utilizing strong passwords; creating multi-layer security, including firewalls, anti-

virus, and anti-malware software; encryption, making data unreadable without a key; using

multi-factor authentication; protecting backup data; and limiting which employees can access

sensitive data.

       78.        Other best cybersecurity practices that are standard in the healthcare industry

include installing appropriate malware detection software; monitoring and limiting the network

ports; protecting web browsers and email management systems; setting up network systems such

as firewalls, switches and routers; monitoring and protection of physical security systems;

protection against any possible communication system; training staff regarding critical points.

       79.        Upon information and belief, Defendant failed to meet the minimum standards of

the following cybersecurity frameworks: the NIST Cybersecurity Framework Version 1.1

(including without limitation PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-

1, PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-2),

and the Center for Internet Security’s Critical Security Controls (CIS CSC), which are established

standards in reasonable cybersecurity readiness.

       80.        These frameworks are existing and applicable industry standards in the healthcare

industry, and Defendant failed to comply with these accepted standards, thereby opening the

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door to and causing the Data Breach.

           Defendant’s Conduct Violates HIPAA and Evidences Its Insufficient Data Security

        81.      HIPAA requires covered entities to protect against reasonably anticipated threats

to the security of sensitive patient health information.

        82.      Covered entities must implement safeguards to ensure the confidentiality,

integrity, and availability of PHI. Safeguards must include physical, technical, and administrative

components.

        83.      Title II of HIPAA contains what are known as the Administrative Simplification

provisions. 42 U.S.C. §§ 1301, et seq. These provisions require, among other things, that the

Department of Health and Human Services (“HHS”) create rules to streamline the standards for

handling PII like the data Defendant left unguarded. The HHS subsequently promulgated

multiple regulations under authority of the Administrative Simplification provisions of HIPAA.

These rules include 45 C.F.R. § 164.306(a)(1-4); 45 C.F.R. § 164.312(a)(1); 45 C.F.R. § 164.308(a)(1)(i);

45 C.F.R. § 164.308(a)(1)(ii)(D); and 45 C.F.R. § 164.530(b).

        84.      Defendant’s Data Breach resulted from a combination of insufficiencies that

demonstrate they failed to comply with safeguards mandated by HIPAA regulations.

        85.      Defendant’s duty to protect patients’ Private Information is neither a discretionary

function nor discretionary duty under HIPAA.

                                         Defendant’s Breach

        86.      Defendant breached its obligations to Plaintiffs and Class Members and/or was

otherwise negligent and reckless because it failed to properly maintain and safeguard its

computer systems, network, and data. Defendant’s unlawful conduct includes, but is not limited

to, the following acts and/or omissions:



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   a.    Failing to maintain an adequate data security system to reduce the

         risk of data breaches and Data Breaches;

   b.    Failing to adequately protect patients’ Private Information;

   c.    Failing to properly monitor its own data security systems for

         existing intrusions, brute-force attempts, and clearing of event logs;

   d.    Failing to apply all available security updates;

   e.    Failing to install the latest software patches, update its firewalls,

         check user account privileges, or ensure proper security practices;

   f.    Failing to practice the principle of least-privilege and maintain

         credential hygiene;

   g.    Failing to avoid the use of domain-wide, admin-level service

         accounts;

   h.    Failing to ensure the confidentiality and integrity of electronic PHI

         it created, received, maintained, and/or transmitted, in violation of

         45 C.F.R. § 164.306(a)(1);

   i.    Failing to implement technical policies and procedures for

         electronic information systems that maintain electronic PHI to

         allow access only to those persons or software programs that have

         been granted access rights in violation of 45 C.F.R. § 164.312(a)(1);

   j.    Failing to implement policies and procedures to prevent, detect,

         contain, and correct security violations in violation of 45 C.F.R. §

         164.308(a)(1)(i);

   k.    Failing to implement procedures to review records of information

         system activity regularly, such as audit logs, access reports, and

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               security incident tracking reports in violation of 45 C.F.R. §

               164.308(a)(1)(ii)(D);

         l.    Failing to protect against reasonably anticipated threats or hazards

               to the security or integrity of electronic PHI in violation of 45 C.F.R.

               § 164.306(a)(2);

         m.    Failing to protect against reasonably anticipated uses or disclosures

               of electronic PHI that are not permitted under the privacy rules

               regarding individually identifiable health information in violation

               of 45 C.F.R. § 164.306(a)(3);

         n.    Failing to ensure compliance with HIPAA security standard rules

               by its workforces in violation of 45 C.F.R. § 164.306(a)(4);

         o.    Failing to train all members of its workforces effectively on the

               policies and procedures regarding PHI as necessary and

               appropriate for the members of its workforces to carry out their

               functions and to maintain security of PHI, in violation of 45 C.F.R.

               § 164.530(b); and/or

         p.    Failing to render the electronic PHI it maintained unusable,

               unreadable, or indecipherable to unauthorized individuals, as it

               had not encrypted the electronic PHI as specified in the HIPAA

               Security Rule by “the use of an algorithmic process to transform

               data into a form in which there is a low probability of assigning

               meaning without use of a confidential process or key” (45 CFR

               164.304 definition of encryption).

87.      As the result of computer systems in dire need of security upgrading and

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inadequate procedures for handling cybersecurity threats, Defendant negligently and unlawfully

failed to safeguard Plaintiffs’ and Class Members’ Private Information.

       88.      Accordingly, as outlined below, Plaintiffs and Class Members now face an

increased risk of fraud and identity theft.

             Data Breaches Put Consumers at an Increased Risk of Fraud and Identity Theft.

       89.      Data Breaches at medical facilities such as Defendant’s are especially problematic

because of the disruption they cause to the medical treatment and overall daily lives of patients

affected by the attack.

       90.      For instance, loss or interruption of access to patient histories, charts, images and

other information forces providers to limit or cancel patient treatment because of the disruption

of service. Any interruption can lead to a deterioration in the quality of overall care patients

receive at facilities affected by Data Breaches and related data breaches.

       91.      Data Breaches that result in the removal of protected data are also considered a

breach under the HIPAA Rules because there is an access of PHI not permitted under the HIPAA

Privacy Rule:

                A breach under the HIPAA Rules is defined as, “...the acquisition, access,
                use, or disclosure of PHI in a manner not permitted under the [HIPAA
                Privacy Rule] which compromises the security or privacy of the PHI.” See
                45 C.F.R. 164.40.

       92.      Data breaches represent a significant problem for patients who have already

experienced inconvenience and disruption associated with a Data Breach.

       93.      The United States Government Accountability Office released a report in 2007

regarding data breaches (“GAO Report”) in which it noted that victims of identity theft will face




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“substantial costs and time to repair the damage to their good name and credit record.”28

         94.      The FTC recommends that identity theft victims take several steps to protect their

personal and financial information after a data breach, including contacting one of the credit

bureaus to place a fraud alert (consider an extended fraud alert that lasts for 7 years if someone

steals their identity), reviewing their credit reports, contacting companies to remove fraudulent

charges from their accounts, placing a credit freeze on their credit, and correcting their credit

reports.29

         95.      Identity thieves use stolen personal information such as Social Security numbers

for a variety of crimes, including credit card fraud, phone or utilities fraud, and bank/finance

fraud.

         96.      Identity thieves can also use Social Security numbers to obtain a driver’s license or

official identification card in the victim’s name but with the thief’s picture; use the victim’s name

and Social Security number to obtain government benefits; or file a fraudulent tax return using

the victim’s information.

         97.      In addition, identity thieves may obtain a job using the victim’s Social Security

number, rent a house or receive medical services in the victim’s name, and may even give the

victim’s personal information to police during an arrest resulting in an arrest warrant being

issued in the victim’s name.

         98.      Theft of Private Information is also gravely serious. PII/PHI is a valuable property

right.30 Its value is axiomatic, considering the value of Big Data in corporate America and the



28 See “Data Breaches Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the
Full Extent Is Unknown,” p. 2, U.S. Government Accountability Office, June 2007,
https://www.gao.gov/new.items/d07737.pdf (last accessed April 12, 2022) (“GAO Report”).
29 See https://www.identitytheft.gov/Steps (last accessed April 12, 2022).
30 See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable Information

(“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4 (2009) (“PII, which companies

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consequences of cyber thefts include heavy prison sentences. Even this obvious risk to reward

analysis illustrates beyond doubt that Private Information has considerable market value.

        99.      Theft of PHI, in particular, is gravely serious: “Medical identity theft is when

someone uses your personal information — like your name, Social Security number, health

insurance account number or Medicare number — to see a doctor, get prescription drugs, buy

medical devices, submit claims with your insurance provider, or get other medical care. If the

thief’s health information is mixed with yours, it could affect the medical care you’re able to get

or the health insurance benefits you’re able to use. It could also hurt your credit.”31 Drug

manufacturers, medical device manufacturers, pharmacies, hospitals and other healthcare service

providers often purchase PII/PHI on the black market for the purpose of target marketing their

products and services to the physical maladies of the data breach victims themselves. Insurance

companies purchase and use wrongfully disclosed PHI to adjust their insureds’ medical

insurance premiums.

        100.     It must also be noted there may be a substantial time lag – measured in years –

between when harm occurs versus when it is discovered, and also between when Private

Information and/or financial information is stolen and when it is used. According to the U.S.

Government Accountability Office, which conducted a study regarding data breaches:

                 [L]aw enforcement officials told us that in some cases, stolen data
                 may be held for up to a year or more before being used to commit
                 identity theft. Further, once stolen data have been sold or posted on
                 the Web, fraudulent use of that information may continue for years.
                 As a result, studies that attempt to measure the harm resulting from
                 data breaches cannot necessarily rule out all future harm.




obtain at little cost, has quantifiable value that is rapidly reaching a level comparable to the value of
traditional financial assets.”) (citations omitted).
31 See Federal Trade Commission, Medical Identity Theft. Available at

https://consumer.ftc.gov/articles/what-know-about-medical-identity-theft (last accessed April 12, 2022).

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        See GAO Report, at p. 29.

        101.    Private Information and financial information are such valuable commodities to

identity thieves that once the information has been compromised, criminals often trade the

information on the “cyber black-market” for years.

        102.    Where the most private information belonging to Plaintiffs and Class Members

was accessed and removed from Defendant’s network, there is a strong probability that entire

batches of stolen information have been dumped on the black market and are yet to be dumped

on the black market, meaning Plaintiffs and Class Members are at an increased risk of fraud and

identity theft for many years into the future.

        103.    Thus, Plaintiffs and Class Members must vigilantly monitor their financial and

medical accounts for many years to come.

        104.    Sensitive Private Information can sell for as much as $363 per record according to

the Infosec Institute.32 PII is particularly valuable because criminals can use it to target victims

with frauds and scams. Once PII is stolen, fraudulent use of that information and damage to

victims may continue for years.

        105.    For example, the Social Security Administration has warned that identity thieves

can use an individual’s Social Security number to apply for additional credit lines.33 Such fraud

may go undetected until debt collection calls commence months, or even years, later. Stolen Social

Security numbers also make it possible for thieves to file fraudulent tax returns, file for

unemployment benefits, or apply for a job using a false identity.34 Each of these fraudulent



32 See Ashiq Ja, Hackers Selling Healthcare Data in the Black Market, InfoSec (July 27, 2015),
https://resources.infosecinstitute.com/topic/hackers-selling-healthcare-data-in-the-black-market/ (last
accessed April 12, 2022).
33 Identity Theft and Your Social Security Number, Social Security Administration (2018) at 1. Available at

https://www.ssa.gov/pubs/EN-05-10064.pdf (last accessed April 12, 2022).
34 Id. at 4.


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activities is difficult to detect. An individual may not know that his or her Social Security Number

was used to file for unemployment benefits until law enforcement notifies the individual’s

employer of the suspected fraud. Fraudulent tax returns are typically discovered only when an

individual’s authentic tax return is rejected.

        106.    Moreover, it is not an easy task to change or cancel a stolen Social Security number.

An individual cannot obtain a new Social Security number without significant paperwork and

evidence of actual misuse. Even then, a new Social Security number may not be effective, as “[t]he

credit bureaus and banks are able to link the new number very quickly to the old number, so all

of that old bad information is quickly inherited into the new Social Security number.”35

        107.    This data, as one would expect, demands a much higher price on the black market.

Martin Walter, senior director at cybersecurity firm RedSeal, explained, “[c]ompared to credit

card information, personally identifiable information and Social Security Numbers are worth

more than 10x on the black market.”36

        108.    Medical information is especially valuable to identity thieves. The asking price on

the Dark Web for medical data is $50 and up.37 Because of its value, the medical industry has

experienced disproportionally higher numbers of data theft events than other industries.

        109.    In recent years, the medical and financial services industries have experienced

disproportionally higher numbers of data theft events than other industries. Defendant therefore

knew or should have known this risk and strengthened its data systems accordingly. Defendant


35 Victims of Social Security Number Theft Find It’s Hard to Bounce Back, NPR, Brian Naylor, Feb. 9, 2015.
Available      at     http://www.npr.org/2015/02/09/384875839/data-stolen-by-anthem-s-hackers-has-
millions-worrying-about-identity-theft (last accessed April 12, 2022).
36 Anthem Hack: Personal Data Stolen Sells for 10x Price of Stolen Credit Card Numbers, IT World, Tim Greene,

Feb. 6, 2015, http://www.itworld.com/article/2880960/anthem-hack-personal-data-stolen-sells-for-10x-
price-of-stolen-credit-card-numbers.html (last accessed April 12, 2022).
37 See Omri Toppol, Email Security: How You Are Doing It Wrong & Paying Too Much, LogDog (Feb. 14,

2016), https://getlogdog.com/blogdog/email-security-you-are-doing-it-wrong/ (last accessed April 12,
2022).

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was put on notice of the substantial and foreseeable risk of harm from a data breach, yet it failed

to properly prepare for that risk.

                                     Plaintiffs’ Experiences

Plaintiffs Dorothy and Tyler Blood

       110.    Plaintiff Dorothy Blood is and at all times mentioned herein was an individual

citizen residing in the State of Kansas, in the City of Cherryvale, Montgomery County.

       111.    Plaintiff Tyler Blood is and at all times mentioned herein was an individual citizen

residing in the State of Kansas, in the City of Cherryvale, Montgomery County.

       112.    Plaintiffs Dorothy and Tyler Blood (“the Bloods”) are a married couple who were

both patients treated at Labette Health facilities. When they went to Labette, they were required

to provide Labette with their Private Information.

       113.    On or about March 11, 2022, the Bloods each received a mailed Notice of Data

Breach Letter, related to Labette’s October 2021 Data Breach. Attached as Exhibits A and B.

       114.    The Notice Letters that Bloods received listed an extensive amount of their PII and

PHI that was in files that were “removed” from Labette’s network. The letters stated that their

full names were among the files that “may have been accessed or acquired” along with one or

more of the following: Social Security number, medical treatment and diagnosis information,

treatment costs, dates of service, prescription information, Medicare or Medicaid number, and/or

health insurance information.” Exhibits A and B.

       115.    The Bloods are both alarmed by the amount of their Private Information that was

stolen or accessed, and even more by the fact that both spouses’ Social Security numbers were

identified as among the breached data on Labette’s computer system.

       116.    Since Labette’s Data Breach, the Bloods have had unauthorized charges made to

their bank account, paid overdraft fees in excess of $500 because each attempted withdrawal

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triggered fees. It has taken the Bloods, collectively, approximately 5 to 6 hours to resolve these

banking problems. As a result, the Bloods had to change their bank account and debit card

numbers.

       117.    In addition, when the Bloods filed their taxes in February 2022, they received

notice from the IRS that their Social Security number(s) had issues. They had to prove their

identity to before the tax return was processed.

       118.    Since Labette’s Data Breach, the Bloods have been notified that their PII was found

on the “dark web.”

       119.    Since approximately December 2021, Mr. Blood has been receiving a significantly

higher number of spam emails, calls, and texts. In the past, he rarely received calls from

telemarketers; now he receives several a day.

       120.    Since the Labette Data Breach, the Bloods, individually and together, monitor their

accounts daily and spend about 7 hours per week doing so.

       121.    The Bloods are aware that cybercriminals often sell Private Information, and that

theirs could be abused months or even years after a data breach.

       122.    Had Dorothy and Tyler Blood been aware that Labette’s computer systems were

not secure, they would not have entrusted Labette with their Private Information.

Plaintiff Peggy Wittum

       123.    Plaintiff Peggy Wittum is and at all times mentioned herein was an individual

citizen residing in the State of Kansas, in the City of Independence, Montgomery County.

       124.    Plaintiff Wittum is a former patient treated at Labette Health facilities. When she

went to Labette, she was required to provide Labette with her Private Information.

       125.    On or about March 13, 2022, Ms. Wittum received a mailed Notice of Data Breach

Letter, related to Labette’s October 2021 Data Breach. Attached as Exhibit C.

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       126.    The Notice Letter that Ms. Wittum received listed an extensive amount of her PII

and PHI that was in files that were “removed” from Labette’s network. The letter stated that her

full name was among the files that “may have been accessed or acquired” along with one or more

of the following: Social Security number, medical treatment and diagnosis information, treatment

costs, dates of service, prescription information, Medicare or Medicaid number, and/or health

insurance information.” Exhibit C.

       127.    Ms. Wittum is alarmed by the amount of her Private Information that was stolen

or accessed, and even more by the fact that her Social Security number and personal medical

treatment and diagnoses were identified as among the breached data on Labette’s computer

system.

       128.    Ms. Wittum has been receiving a significantly higher number of spam calls. In the

past, she rarely received these sorts of calls; now she receives between 10 and 15 per day, although

they seem to be slowing down recently. Although she cannot be certain that these are related to

the Data Breach, she believes that it probably is.

       129.    Since the Labette Data Breach, Ms. Wittum and/or her husband monitor their

financial accounts each week for approximately an hour.

       130.    Ms. Wittum has also signed up for the one year of data protection services offered

by Labette through IDX but believes one year is inadequate, especially since Labette took about

5 months to even notify its patients and employees of the Data Breach. She is aware that

cybercriminals often sell Private Information, and that hers could be abused months or even years

after a data breach.

       131.    Had Ms. Wittum been aware that Labette’s computer systems were not secure, she

would not have entrusted Labette with her Private Information.

                                Plaintiffs’ and Class Members’ Damages

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          132.   To date, Defendant has done absolutely nothing to provide Plaintiffs and Class

Members with relief for the damages they have suffered as a result of the Data Breach and data

breach.

          133.   Moreover, Labette has offered only a paltry one year of identity theft monitoring

and identity theft protection through IDX. This one-year limitation is inadequate when victims

are likely to face many years of identity theft.

          134.   Defendant Labette’s credit monitoring offer and advice to Plaintiffs and Class

Members squarely places the burden on Plaintiffs and Class Members, rather than on the

Defendant, to monitor and report suspicious activities to law enforcement. In other words,

Labette expects Plaintiffs and Class to protect themselves from its tortious acts resulting in the

Data Breach. Rather than automatically enrolling Plaintiffs and Class Members in credit

monitoring services upon discovery of the breach, Defendant merely sent instructions to Plaintiffs

and Class Members about actions they can affirmatively take to protect themselves.

          135.   These services are wholly inadequate as they fail to provide for the fact that victims

of data breaches and other unauthorized disclosures commonly face multiple years of ongoing

identity theft and financial fraud, and they entirely fail to provide any compensation for the

unauthorized release and disclosure of Plaintiffs’ and Class Members’ PII and PHI.

          136.   As a direct and proximate result of Defendant’s conduct, Plaintiffs and Class

Members have been placed at an imminent, immediate, and continuing increased risk of harm

from fraud and identity theft.

          137.   Plaintiffs and Class Members face substantial risk of out-of-pocket fraud losses

such as loans opened in their names, medical services billed in their names, tax return fraud,

utility bills opened in their names, credit card fraud, and similar identity theft.

          138.   Plaintiffs and Class Members face substantial risk of being targeted for future

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phishing, data intrusion, and other illegal schemes based on their Private Information as

fraudsters can use that information to target such schemes more effectively to Plaintiff and Class

Members.

       139.    Plaintiffs and Class Members may also incur out-of-pocket costs for protective

measures such as credit monitoring fees, credit report fees, credit freeze fees, and similar costs

directly or indirectly related to the Data Breach.

       140.    Plaintiffs and Class Members also suffered a loss of value of their Private

Information when it was acquired by cyber thieves in the Data Breach. Numerous courts have

recognized the propriety of loss of value damages in related cases.

       141.    Plaintiffs and Class Members were also damaged via benefit-of-the-bargain

damages. Part of the price Class Members paid to Defendant was intended to be used by

Defendant to fund adequate security of Defendant’s computer property and Plaintiffs’ and Class

Members’ Private Information. Thus, Plaintiff and the Class Members did not get what they paid

for. Specifically, they overpaid for services that were intended to be accompanied by adequate

data security but were not.

       142.    Plaintiffs and Class Members have been damaged by the compromise of their

Private Information in the Data Breach, and by the severe disruption to their lives as a direct and

foreseeable consequence of this Data Breach.

       143.    Plaintiffs and Class Members have spent and will continue to spend significant

amounts of time to monitor their financial and medical accounts and records for misuse.

       144.    Plaintiffs and Class Members have suffered or will suffer actual injury as a direct

result of the Data Breach.

       145.    In addition, many victims suffered ascertainable losses in the form of out-of-

pocket expenses and the value of their time reasonably incurred to remedy or mitigate the effects

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of the Data Breach relating to:

               a.      Finding fraudulent charges;

               b.      Canceling and reissuing credit and debit cards;

               c.      Purchasing credit monitoring and identity theft prevention;

               d.      Addressing their inability to withdraw funds linked to compromised

                       accounts;

               e.      Taking trips to banks and waiting in line to obtain funds held in limited

                       accounts;

               f.      Placing “freezes” and “alerts” with credit reporting agencies;

               g.      Spending time on the phone with or at a financial institution to dispute

                       fraudulent charges;

               h.      Contacting financial institutions and closing or modifying financial

                       accounts;

               i.      Gathering extensive documentation to monitor whether a child’s PII and

                       PHI have been sold and watching for unauthorized activity using the

                       child’s Social Security number;

               j.      Resetting automatic billing and payment instructions from compromised

                       credit and debit cards to new ones;

               k.      Paying late fees and declined payment fees imposed as a result of failed

                       automatic payments that were tied to compromised cards that had to be

                       cancelled; and

               l.      Closely reviewing and monitoring bank accounts and credit reports for

                       unauthorized activity for years to come.

       146.    Plaintiffs and Class Members have an interest in ensuring that their Private

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Information, which is believed to remain in the possession of Defendant, is protected from further

breaches by the implementation of security measures and safeguards, including but not limited

to, making sure that the storage of data or documents containing personal and financial

information is not accessible online and that access to such data is password-protected.

                                CLASS ACTION ALLEGATIONS

       147.    Plaintiffs bring this action on behalf of a class of all other persons similarly situated

in the State of Kansas pursuant to Kan. Stat. Ann. 60-223 and proposes to (tentatively) define the

Class as:

       Class: All persons whose PII and/or PHI was compromised as a result of the Data Breach
       that Labette discovered on or about October 11, 2021 (the “Class”).

       148.    Excluded from the Class are Defendant’s officers, directors, and employees; any

entity in which Defendant has a controlling interest; and the affiliates, legal representatives,

attorneys, successors, heirs, and assigns of Defendant. Excluded also from the Class are members

of the judiciary to whom this case is assigned, their families and members of their staff.

       149.    Plaintiffs reserve the right to amend the definitions of the Class or add a Subclass

if further information and discovery indicate that the definitions of the Class should be narrowed,

expanded, or otherwise modified.

       150.    Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

Plaintiffs can prove the elements of their claims on a class-wide basis using the same evidence as

would be used to prove those elements in individual actions alleging the same claims.

       151.    Numerosity, Kan. Stat. Ann. 60-223(a). The members of the Class are so numerous

that joinder of all of them is impracticable. While the exact number of Class Members is unknown

to Plaintiffs at this time, based on information and belief, the Classes consists of over 115,670

current and former patients and employees of Labette whose data was compromised in the Data

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Breach. The Class defined above is identifiable through Labette’s business records.

       152.    Commonality and Predominance, Kan. Stat. Ann. 60-223(b). There are questions

of law and fact common to the Class, which predominate over any questions affecting only

individual Class Members. These common questions of law and fact include, without limitation:

       a)      Whether Defendant unlawfully used, maintained, lost, or disclosed

               Plaintiffs’ and Class Members’ Private Information;

       b)      Whether Defendant failed to implement and maintain reasonable security

               procedures and practices appropriate to the nature and scope of the

               information compromised in the Data Breach;

       c)      Whether Defendant’s data security systems prior to and during the Data

               Breach complied with applicable data security laws and regulations

               including, e.g., HIPAA;

       d)      Whether Defendant’s data security systems prior to and during the Data

               Breach were consistent with industry standards;

       e)      Whether Defendant owed a duty to Class Members to safeguard their

               Private Information;

       f)      Whether Defendant breached their duty to Class Members to safeguard

               their Private Information;

       g)      Whether computer hackers obtained Class Members’ Private Information

               in the Data Breach;

       h)      Whether Defendant knew or should have known that its data security

               systems and monitoring processes were deficient;

       i)      Whether Plaintiffs and Class Members suffered legally cognizable

               damages as a result of Defendant’s misconduct;

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        j)      Whether Defendant owed a duty to provide Plaintiffs and Class Members

                complete and prompt notice of this data breach, and whether Defendant

                breached that duty;

        k)      Whether Defendant’s actions violated state or federal laws;

        l)      Whether Plaintiffs and Class Members are entitled to damages, treble

                damages, civil penalties, punitive damages, and/or injunctive relief; and

        m)      Whether Defendant has engaged in a common course of conduct toward

                Plaintiffs and Class Members, in that all the Plaintiffs’ and Class Members’

                data was stored on the same computer systems and unlawfully accessed in

                the same way.

        153.    The common issues arising from Defendant’s conduct affecting Class Members set

out above predominate over any individualized issues. Adjudication of these common issues in

a single action has important and desirable advantages of judicial economy.

        154.    Policies Generally Applicable to the Class: This class action is also appropriate for

certification because Defendant has acted or refused to act on grounds generally applicable to the

Class, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the Class Members and making final injunctive relief appropriate with respect

to the Class as a whole. Defendant’s policies challenged herein apply to and affect Class Members

uniformly and Plaintiffs’ challenge of these policies hinges on Defendant’s conduct with respect

to the Class as a whole, not on facts or law applicable only to Plaintiff. Plaintiffs’ claims are typical

of those of other Class Members because Plaintiffs’ information, like that of every other Class

Member, was compromised in the Data Breach.

        155.    Adequacy of Representation, Kan. Stat. Ann. 60-223(g). Plaintiffs will fairly and

adequately represent and protect the interests of the Class Members in that they have no disabling

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conflicts of interest that would be antagonistic to that of the other Members of the Class. Plaintiffs

seek no relief that is antagonistic or adverse to the Members of the Class and the infringement of

the rights and the damages they have suffered are typical of other Class Members. Plaintiffs have

retained counsel experienced in complex consumer class action litigation, and Plaintiffs intend to

prosecute this action vigorously.

       156.    Superiority, Kan. Stat. Ann. 60-223(b)(3). The class litigation is an appropriate

method for fair and efficient adjudication of the claims involved. Class action treatment is

superior to all other available methods for the fair and efficient adjudication of the controversy

alleged herein; it will permit a large number of Class Members to prosecute their common claims

in a single forum simultaneously, efficiently, and without the unnecessary duplication of

evidence, effort, and expense that hundreds of individual actions would require. Class action

treatment will permit the adjudication of relatively modest claims by certain Class Members, who

could not individually afford to litigate a complex claim against large corporations, like

Defendant. Further, even for those Class Members who could afford to litigate such a claim, it

would still be economically impractical and impose a burden on the courts.

       157.    The nature of this action and the nature of laws available to Plaintiffs and Class

Members make the use of the class action device a particularly efficient and appropriate

procedure to afford relief to Plaintiffs and Class Members for the wrongs alleged because

Defendant would necessarily gain an unconscionable advantage since they would be able to

exploit and overwhelm the limited resources of each individual Class Member with superior

financial and legal resources; the costs of individual suits could unreasonably consume the

amounts that would be recovered; proof of a common course of conduct to which Plaintiffs were

exposed is representative of that experienced by the Class and will establish the right of each

Class Member to recover on the cause of action alleged; and individual actions would create a

                                                 35
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risk of inconsistent results and would be unnecessary and duplicative of this litigation.

       158.    The litigation of the claims brought herein is manageable. Defendant’s uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

Members demonstrates that there would be no significant manageability problems with

prosecuting this lawsuit as a class action.

       159.    Notice, Kan. Stat. Ann. 60-223(c)(2). Adequate notice can be given to Class

Members directly using information maintained in Defendant’s records.

       160.    Unless a Class-wide injunction is issued, Defendant may continue in its failure to

properly secure the PII and PHI of Class Members, Defendant may continue to refuse to provide

proper notification to Class Members regarding the Data Breach, and Defendant may continue to

act unlawfully as set forth in this Complaint.

       161.    Further, Defendant has acted or refused to act on grounds generally applicable to

the Class and, accordingly, final injunctive or corresponding declaratory relief with regard to the

Class Members as a whole is appropriate.

                                      CAUSES OF ACTION

                                            Count I
                                 Breach of Implied Contract
                        (On Behalf of Plaintiffs and All Class Members)

       162.    Plaintiffs re-allege and incorporate by reference the paragraphs above as if fully

set forth herein.

       163.    Through their course of conduct, Defendant, Plaintiffs, and Class Members

entered into implied contracts for the provision of medical care and treatment, as well as implied

contracts for the Defendant to implement data security adequate to safeguard and protect the

privacy of Plaintiffs’ and Class Members’ Private Information.



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       164.    Specifically, Plaintiffs and Class Members entered into a valid and enforceable

implied contract with Defendant when they first went medical care and treatment at one of

Defendant’s facilities.

       165.    The valid and enforceable implied contracts to provide health care services that

Plaintiffs and Class Members entered into with Defendant include Defendant’s promise to protect

nonpublic Private Information given to Defendant or that Defendant creates on its own from

disclosure.

       166.    When Plaintiffs and Class Members provided their Private Information to

Defendant in exchange for Defendant’s services, they entered into implied contracts with

Defendant pursuant to which Defendant agreed to reasonably protect such information.

       167.    Defendant solicited and invited Class Members to provide their Private

Information as part of Defendant’s regular business practices. Plaintiffs and Class Members

accepted Defendant’s offers and provided their Private Information to Defendant.

       168.    In entering into such implied contracts, Plaintiffs and Class Members reasonably

believed and expected that Defendant’s data security practices complied with relevant laws and

regulations, including HIPAA, and were consistent with industry standards.

       169.    Class Members who paid money to Defendant reasonably believed and expected

that Defendant would use part of those funds to obtain adequate data security. Defendant failed

to do so.

       170.    Under the implied contracts, Defendant and/or its affiliated healthcare providers,

promised and were obligated to: (a) provide healthcare to Plaintiffs and Class Members; and (b)

protect Plaintiffs’ and the Class Members’ PII/PHI: (i) provided to obtain such healthcare; and/or

(ii) created as a result of providing such healthcare. In exchange, Plaintiff and Members of the

Class agreed to pay money for these services, and to turn over their Private Information.

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       171.    Both the provision of healthcare and the protection of Plaintiffs’ and Class

Members’ Private Information were material aspects of these implied contracts.

       172.    The implied contracts for the provision of medical services – contracts that include

the contractual obligations to maintain the privacy of Plaintiffs’ and Class Members’ Private

Information—are also acknowledged, memorialized, and embodied in multiple documents,

including (among other documents) Defendant’s Privacy Notice.

       173.    Defendant’s express representations, including, but not limited to the express

representations found in its Privacy Practices, memorializes and embodies the implied

contractual obligation requiring Defendant to implement data security adequate to safeguard and

protect the privacy of Plaintiffs and Class Members’ Private Information.

       174.    Consumers of healthcare value their privacy, the privacy of their dependents, and

the ability to keep their Private Information associated with obtaining healthcare private. To

patients such as Plaintiffs and Class Members, healthcare that does not adhere to industry

standard data security protocols to protect Private Information is fundamentally less useful and

less valuable than healthcare that adheres to industry-standard data security.

       175.    Plaintiffs and Class Members would not have entrusted their Private Information

to Defendant and entered into these implied contracts with Defendant without an understanding

that their Private Information would be safeguarded and protected or entrusted their Private

Information to Defendant in the absence of its implied promise to monitor its computer systems

and networks to ensure that it adopted reasonable data security measures.

       176.    A meeting of the minds occurred, as Plaintiffs and Members of the Class agreed

to and did provide their Private Information to Defendant and/or its affiliated healthcare

providers, and paid for the provided healthcare in exchange for, amongst other things, both the

provision of healthcare and the protection of their Private Information.

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       177.    Plaintiffs and Class Members performed their obligations under the contract when

they paid for their health care services and provided their Private Information.

       178.    Defendant materially breached its contractual obligation to protect the nonpublic

Private Information Defendant gathered when the information was accessed and exfiltrated by

unauthorized personnel as part of the Data Breach.

       179.    Defendant materially breached the terms of the implied contracts, including, but

not limited to, the terms stated in the relevant Notice of Privacy Practices.

       180.    Defendant did not maintain the privacy of Plaintiffs’ and Class Members’ Private

Information as evidenced by its notifications of the Data Breach to Plaintiff and approximately

85,635 Class Members. Specifically, Defendant did not comply with industry standards,

standards of conduct embodied in statutes like HIPAA, 42 U.S.C. §§ 1301, et seq., and Section 5 of

the FTC Act, or otherwise protect Plaintiffs’ and the Class Members’ Private Information, as set

forth above.

       181.    The Data Breach was a reasonably foreseeable consequence of Defendant’s actions

in breach of these contracts.

       182.    As a result of Defendant’s failure to fulfill the data security protections promised

in these contracts, Plaintiffs and Members of the Class did not receive the full benefit of the

bargain, and instead received healthcare and other services that were of a diminished value to

that described in the contracts. Plaintiffs and Class Members therefore were damaged in an

amount at least equal to the difference in the value of the healthcare with data security protection

they paid for and the healthcare they received.

       183.    Had Defendant disclosed that its security was inadequate or that it did not adhere

to industry-standard security measures, neither the Plaintiffs, the Class Members, nor any

reasonable person would have purchased healthcare from Defendant and/or its affiliated

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healthcare providers.

         184.   As a direct and proximate result of the Data Breach, Plaintiffs and Class Members

have been harmed and have suffered, and will continue to suffer, actual damages and injuries,

including without limitation the release and disclosure of their Private Information, the loss of

control of their Private Information, the imminent risk of suffering additional damages in the

future, disruption of their medical care and treatment, out-of-pocket expenses, and the loss of the

benefit of the bargain they had struck with Defendant.

         185.   Plaintiffs and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

         186.   Plaintiffs and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately

provide adequate credit monitoring to all Class Members.

                                             Count II
                                      Unjust Enrichment
                              (On Behalf of Plaintiffs and the Class)

         187.   Plaintiffs re-allege and incorporate by reference the paragraphs above as if fully

set forth herein. This claim is plead in the alternative to the breach of implied contract claim

above.

         188.   Plaintiffs and Class Members conferred a monetary benefit upon Labette in the

form of monies paid for medical treatment and services at its health facilities.

         189.   Labette appreciated or had knowledge of the benefits conferred upon them by

Plaintiffs and Class Members. Labette also benefited from the receipt of Plaintiffs’ and Class

members’ Personal Information, as this was utilized by Labette to facilitate payment to it from its

patients, insurance companies, and other entities.

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       190.    The monies that Plaintiffs and Class Members paid for health-related services to

Labette were supposed to be used by Labette, in part, to pay for the administrative costs of

reasonable data privacy and security practices and procedures.

       191.    As a result of Labette’s conduct, Plaintiffs and class members suffered actual

damages in an amount equal to the difference in value between the money Plaintiffs and Class

Members paid for health services assuming reasonable data privacy and security practices and

procedures that, and the cost of those health services without unreasonable data privacy and

security practices and procedures in place.

       192.    Under principals of equity and good conscience, Labette should not be permitted

to retain the money belonging to Plaintiffs and Class Members because Labette failed to

implement (or adequately implement) the data privacy and security practices and procedures

that Plaintiffs and Class Members paid for and that were otherwise mandated by federal, state,

and local laws and industry standards.

       193.    Labette should be compelled to disgorge into a common fund for the benefit of

Plaintiffs and Class Members all unlawful or inequitable proceeds received by it as a result of the

conduct and Data Breach alleged in this Complaint.


                                           Count III
                    Violation of Kansas Protection of Consumer Information
                                  Kansas Stat. Ann. § 50-7a02(a)
                             (On Behalf of Plaintiffs and the Class)

       194.    Plaintiffs re-allege and incorporate by reference the paragraphs above as if fully

set forth herein.

       195.    Defendant is a business that owns or licenses computerized data that includes

Personal Information as defined by Kan. Stat. Ann. § 50-7a02(a).

       196.    Plaintiffs and Class Members’ PII and PHI includes Personal Information as

                                                41
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covered under Kan. Stat. Ann. § 50-7a02(a).

          197.   Defendant is required to accurately notify Plaintiffs and Class Members if it

becomes aware of a breach of its data security system that was reasonably likely to have cause

misuse of Plaintiffs’ and Class’s Personal Information in the most expedient time possible and

without unreasonable delay under Kan. Stat. Ann. § 50-7a02(a).

          198.   Because Defendant was aware of a breach of its network that was reasonably likely

to have cause misuse of Plaintiff and Class’s Personal Information, Defendant had an obligation

to disclose the Data Breach in a timely and accurate manner as required under Kan. Stat. Ann. §

50-7a02(a).

          199.   By failing to disclose the Data Breach in a timely and accurate manner, Defendant

violated Kan. Stat. Ann. § 50-7a02(a).

          200.   As a direct and proximate result of Defendant’s violation of Kan. Stat. Ann. § 50-

7a02(a), Plaintiffs and Class Members suffered damages as described above.

          201.   Plaintiffs and Class Members seek relief under Kan. Stat. Ann. § 50-7a02(g),

including equitable relief.

                                             Count IV
                           Violation of Kansas Consumer Protection Act
                                Kansas Stat. Ann. §§ 50-623, et seq.
                              (On Behalf of Plaintiffs and the Class)

          202.   Plaintiffs re-allege and incorporate by reference the paragraphs above as if fully

set forth herein.

          203.   Kansas Stat. Ann. §§ 50-623, et seq. is to be liberally construed to protect consumers

from deceptive and unconscionable practices.

          204.   Plaintiffs and Class Members are “consumers” as defined in Kan. Stat. Ann. 50-

624(b).


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       205.   Plaintiffs and Class Members sought “consumer transactions” (medical services)

from Defendant as defined in Kan. Stat. Ann. 50-624 (c).

       206.   Defendant is a “supplier” of services, as defined in Kan. Stat. Ann. 50-624 (l).

       207.   Defendant advertised, offered, or sold services in Kansas and engaged in trade or

commerce directly or indirectly with the people of Kansas, including Plaintiff and Class.

       208.   Defendant engaged in deceptive and unfair acts or practices, including:

                a. Failing to implement and maintain reasonable security and privacy measures

                   to protect its patients’ and employees’ Personal Information (including that

                   of Plaintiffs and Class Members), which was a direct and proximate cause of

                   the Data Breach;

                b. Failing to identify foreseeable security and privacy risks, remediate identified

                   security and privacy risks, and adequately improve security and privacy

                   measures, which was a direct and proximate cause of the Data Breach;

                c. Failing to comply with common law and statutory duties pertaining to the

                   security and privacy of Plaintiffs’ and Class members’ Personal Information,

                   including duties imposed by, inter alia, the FTC Act, 15 U.S.C. § 45, HIPAA 42

                   U.S.C. §§ 1301, et seq., and Kansas’s identity fraud statute, the Wayne Owen

                   Act, Kan. Stat. Ann. §50-6, 139b, which was a direct and proximate cause of

                   the Data Breach;

                d. Misrepresenting that it would protect the privacy and confidentiality of

                   Plaintiffs and Class Members’ Personal Information, including by

                   implementing and maintaining reasonable security measures;

                e. Misrepresenting that it would comply with common law and statutory duties



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                    pertaining to the security and privacy of Plaintiffs’ and Class members’

                    Personal Information, including duties imposed by, inter alia, the FTC Act, 15

                    U.S.C. § 45; HIPAA, 42 U.S.C. §§ 1301, et seq.; and Kansas’s identity fraud

                    statute, the Wayne Owen Act, Kan. Stat. Ann. §50-6, 139b;

                f. Omitting, suppressing, and concealing the material fact that it did not

                    reasonably or adequately secure Plaintiffs’ and Class Members’ Personal

                    Information; and

                g. Omitting, suppressing, and concealing the material fact that it did not comply

                    with common law and statutory duties pertaining to the security and privacy

                    of Plaintiffs’ and Class members’ Personal Information, including duties

                    imposed by, inter alia, the FTC Act,15 U.S.C. § 45; HIPAA, 42 U.S.C. §§ 1301,

                    et seq.; and Kansas’s identity fraud statute, the Wayne Owen Act, Kan. Stat.

                    Ann. §50-6,139b.

       209.    Labette’s representations and omissions were material because they were likely to

deceive reasonable consumers about the adequacy of its data security and ability to protect the

confidentiality of patients’ and employees’ sensitive Personal Information.

       210.    Labette intended to mislead Plaintiffs and Class Members and induce them to rely

on its misrepresentations and omissions.

       211.    As a direct and proximate result of Labette’s unfair, deceptive, and unconscionable

trade practices, Plaintiffs and Class Members have been aggrieved, and have suffered and will

continue to suffer injury, ascertainable losses of money or property, and monetary and non-

monetary damages, including from fraud and identity theft; time and expenses related to

monitoring their financial accounts for fraudulent activity; imminent risk or fraud and identity

theft; and loss of value of their sensitive personal information.).

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                               PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray for judgment as follows:

A.      For an Order certifying this action as a class action and appointing Plaintiffs and

their counsel to represent the Classes;

B.      For equitable relief enjoining Defendant from engaging in the wrongful conduct

complained of herein pertaining to the misuse and/or disclosure of Plaintiffs’ and Class

Members’ Private Information, and from failing to issue prompt, complete and accurate

disclosures to Plaintiffs and Class Members;

C.      For equitable relief compelling Defendant to utilize appropriate methods and

policies with respect to consumer data collection, storage, and safety, and to disclose with

specificity the type of PII and PHI compromised during the Data Breach;

D.      For equitable relief requiring restitution and disgorgement of the revenues

wrongfully retained as a result of Defendant’s wrongful conduct;

E.      Ordering Defendant to pay for not less than seven years of credit monitoring

services for Plaintiffs and the Classes;

F.      For an award of actual damages, compensatory damages, statutory damages, and

statutory penalties, in an amount to be determined, as allowable by law;

G.      For an award of punitive damages, as allowable by law;

H.      For an award of attorneys’ fees and costs, and any other expense, including expert

witness fees;

I.      Pre- and post-judgment interest on any amounts awarded; and

J.      Such other and further relief as this court may deem just and proper.




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                                 DEMAND FOR JURY TRIAL

       Plaintiffs demand a trial by jury of all claims in this Complaint so triable. Plaintiffs also

respectfully request leave to amend this Complaint to conform to the evidence, if such

amendment is needed for trial.

 Dated: April 26, 2022                             Respectfully Submitted,

                                                   By: Michael J. Fleming
                                                   Michael J. Fleming KS Bar #20291
                                            212.   KAPKE & WILLERTH, LLC
                                            213.   3304 NE Ralph Powell Road
                                            214.   Lee’s Summit, Missouri 64064
                                            215.   (816) 461-3800 – Telephone
                                            216.   (816) 254-8014 – Fax
                                            217.   mike@kapkewillerth.com
                                            218.
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                                                   5101 Wisconsin Ave. NW Ste. 305
                                                   Washington DC 20016
                                                   Phone: 202.640.1160
                                                   Fax: 202.429.2294

                                                   Attorneys for Plaintiffs and the Class

                                                   *pro hac vice forthcoming




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                             CASE NUMBER: NOC-2022-CV-000020
                                       PII COMPLIANT




                     EXHIBIT A
     Dorothy Blood Notice Letter
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                             CASE NUMBER: NOC-2022-CV-000020
                                       PII COMPLIANT




                     EXHIBIT B
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                     EXHIBIT C
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      2.            Placing: F raud Alert on Your Credit Fi_l_c_.
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 3.                 Consider              Placigﬂ         Security- l-'reexe on Your Credit File.

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                                                                                                                                            .1. ._ 2 1.:               :.cF.-».. no ..E 3e: «9.1....
                                                                                                                                                                                        23.3.:            _.
 :7              .f:.:                                  .4:             74L 3. .ur                         '42::                aand.        a. .37...                    ._
                                                                                                                                                            A .:. .15. 1.5.7.. fl... .rr 5.. .. .Ll  .1. 3..
 .                                                                                                   _.            Air...
      3.11."...                ..!K..tv -.£J..<r.- :9                                                      é                 .....;.         1.9.1.... .7... 5.73:5: $3.1. .35 F; .-I*m-h- 1IICI-o
                                                                                         .
                            v.0: "a. aﬁr. .N-V.J£» .74 4u'ﬂ-JIJn» n3 '.. I. t 1.94...) 4.. tint/2 uuA. 753 '.._4 S =2.
 t...         1a,... .3. 31:2..3: r... . .E. ..,:..._ 9.3.5.... .295 F. .4:   "Cd... -.E .:.. ..:                                                                                           .p                                                                 __
                                                                                                   :;:; r . E. ...
                                                                                                               u
 T.       ..f? «5.1:.11... .01... 3. 1.5. 3..Lw.. r1... av o5: V: ..St...:.£._mF (1.5"... .3: 3..»       _
                                                                                                                                                                                                                                                                                                       uni-'0'! 0.38
                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                              .h....=... €1.43: I        u ..a_ .. I.                                          l
 .5. .21           9... 1...; "xékﬁ a... mjﬁt! un.q4~1~ ﬁstv' .7. . :4... :4                                                                                                                     H41. .4            1N4. .1 ..4 7...;     .: .z. 2 ._..:    . . . \x
 .2.       r    7.59,... .1... .ué PaEu?    at .4165. 3D 2:35;... if...                                                                                                                               111'...           3.... EC Can! S.) uh...» rc. L
                                                o
                      Z z: .Tuuai .123 {if} .'l: 36.4 w-.. 3h I. J .a.dahva.             3.   3. J... if;        I. .Nu'.....u§                                                                       o.
                                                                                                     .
                                             j.                                                                                                                                             .                                                        .
  ...-... _._ 53....     .... 1. _.. a...        r. Z. .. .3? ......ncuu «.... r»: uni                    ... ... .... ..A'..Ja .I .0
                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                            .                                                                                                                                                                              .                   .
  9.....3-3... .I .14.." I. $ .... ...ct).5.- ...-Ir 45.".                        ...... .. u.......:.7..v ... ..                   4.4..
                                                                                                                     3....         .4...
  7.7,.2 3t.L.:_ 1.... ..v..'_.w.;::..;._l.u.t.~.....t.. ...0.£.:A\..., tto._u
                                    .                                                                        o :7...                                                                                                                                            .                                                ..
                    a
   ... .. ...: A. I 2.3;...               .1... :......r ......o. 31...... -.. .. ... ... :~  _
                                                                                               . .....ﬁ.                       ...
                                            .
                                                                                     .a L. ..
  .. I ......UT      ...; .s $1.... .... ..t. .73... ...-v. ... ...: .C 7...:                        ....1...._.....H...... . 3
   ~ r ... .2 :2 . a...) ._ Crunches... 8'... 7:... 2 .... L3... ..E y... ...rxru LE? "...... r... c ,5: .3... .13. .... 7...
                                                                                              ..'llll.om....tat d nu. . u.                                                                                                                                                   .
                                                                                                                                            a                                                                                                                       1                 v.,\ .....AL..                                             H...
     9:?        J ..          ._    t. .«t. (,9                        ...x:;. =9. v...... .n .. J3 .t .                                                    .._-.n.c._fl. ......»u. ......w. .7 d1;
                        (I.        ...:Ix                    c                                                                                               =:... 3. 1.2.? 3......1.' .n: 2....                                                                        1:.           L t                                                  I...
     ..        ._                                                     :3; are... ..., .r'xnns .3!.$.. 2...:
                                                                                                                                                                                                                      wrist: my... 3g}                                                                                                               v
                                                                                                                                                                                                                                                                    p            .....l.'                                     ..y..              .u
                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                              .a?!..5.21.7...3ﬂ.v4-3.1?                                        .
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      .    ...          v (83's...                                            IL             2           ....n    ...-.1731"... .0 f. ...                                              ......2...  ...          v                       f                14......
                                                                     ......                                                                                                                                                                                                       .       u.           .
      u         ... ....                .                .       .    3...         .l         a...                                                                                )4       .. ..a.   _..v             .                     I....         .. ...                                                     ».                    r.-
                                                                                                           ,. .44       a~.....a I ....h
                                                                                             :2...         .w.       u.     2:...        ...:   I...        .21.:                 ..        a
      oi...?.£cll'l It! i
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